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AO 106 {Rev. 04/10) Application for a Search Warrant
                                                                                                                                          f'^11
                                      United States District Court
                                                                     for the

                                                        Western District of Oklahoma                                           2019

             In the Matter ofthe Search of
         (Briefly describe the property to be searched
                                                                                                                             pERNDfST.OKLA.
                                                                                                                                        .deputy
          or identify the person by name and address)                            Case No. M-19- n^) -STE
    a "Coolpad" cellphone {IMEI: 862429032252478)
      a "Moto" cellphone (IMEI: 355674088957116)
    an "iPhone" cellphone (IMSI: 310120059494450)

                                            APPLICATION FOR A SEARCH WARRANT

        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

 See Attachment A, which is incooprated by referenced herein,

located in the               Western              District of           Oklahoma              , there is now concealed (identify the
person or describe the property to be seized)'.

 See Attachment B, which is incorporated by referenced herein.

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                 sT evidence of a crime;
                 O contraband, fruits of crime, or other items illegally possessed;
                 sT property designed for use, intended for use, or used in committing a crime;
                 □ a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:

             Code Section                                                        Offense Description
        21 U.S.C. § 846                            Drug Conspiracy
        18 U.S.C. § 2118(b)                        Burglary of a Business Registered with the DEA


          The application is based on these facts:
        See Affidavit, attached hereto.

          [?f Continued on the attached sheet.
          □ Delayed notice of                     days (give exact ending date if more than 30 days:                   ) is requested
                under 18 U.S.C. § 3103a, the basis of which is set forth on the attached shee



                                                                                             App.            nature


                                                                                 GERARD DAUPPnt^AiSj DEA Special Agent
                                                                                             Printed nabte^and title

Sworn to before me and signed in my presence.                                                                                       \

Date:
            i      t     *                                                                     Judge's signature

City and state: Oklahoma City, Oklahoma                                           SHON T. ERWiN, U.S. Magistrate Judge
                                                                                             Printed name and title
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                         ATTACHMENT A

          DESCBIPTON OF DEVICES TO BE SEARCHED

1. A black-colored "Coolpad" cellphone with pink paint on screen (IMEl:
   862429032252478)("SUBJECT DEVICE 1")

2. A gold-colored 'Moto" ceUphone (IMEI: 355674088957116)("SUBJECT
   DEVICE 2")

3. A black-colored "iPhone"     cellphone   (IMSI:   310120059494450)
  ("SUBJECT DEVICE 3")
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                              ATTACHMENT B

                       LIST OF ITEMS TO BE SEIZED


Electronically stored information including, but not limited to' the phone

directory and/or contacts list, calendar, text messages, chat messages,

multimedia messages, e-mail messages, call logs, photographs, videos and data

files.
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                   IN THE UNITED STATES DISTRICT COURT
                  OR THE WESTERN DISTRICT OF OKLAHOMA


                 AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

          I, Gerard Dauphinais, a Special Agent with the Drug Enforcement

   Administration (DEA) Oklahoma City, Oklahoma, being duly sworn, depose

   and state as follows:


          1.      I am a Special Agent with the Drug Enforcement Administration

   (DEA), United States Department of Justice, and have served in that capacity

   since 1996. I am currently assigned to the Tactical Diversion Squad(TDS)at

   the Oklahoma City District Office(OCDO)located in Oklahoma City, OK. In

   January 1997,1 completed approximately sixteen (16) weeks of training at the

   DEA Basic Agent Academy in Quantico, Virginia that instructed your affiant

   on narcotics investigations, use of confidential sources, surveillance,

   interviews and interrogation, proper search and seizure, and arrest procedures

   as required to become a Special Agent with the DEA. Prior to the DEA,I was

   a police officer with the Los Angeles Police Department for two years and have

   experience investigating many types of criminal conduct.

     2.        During my career as a DEA Special Agent, I have investigated

violations of the      Controlled   Substances Act involving illegal narcotics

trafficking. Through these investigations and the training mentioned above, I

have become famihar with investigative methods and techniques regarding drug
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trafficking and money laundering. I am familiar with and have participated in

standard methods of investigation, including, but not limited to, visual

surveillance, questioning witnesses, the use of search and arrest warrants, the use

of informants, the use of electronic surveillance, the monitoring and analysis of

cellular telephone usage and data, and the use of undercover agents. I am

familiar with the methods of operation and terminology used by drug traffickers

as well as methods of laundering drug trafficking proceeds. I have experience

debriefing defendants, witnesses, confidential sources, and other persons who have

knowledge ofthe distribution and transportation of controlled substances. I know

from training, experience, and experiences related to me by other agents that

persons involved in drug trafficking frequently utilize cellular telephones to

further the distribution of illicit and/or counterfeit illicit substances.


      3.        This affidavit is intended to show merely that there is sufficient

probable cause for the requested warrant and does not set forth all of my

knowledge about this matter. As a Special Agent with the DEA,I am vested with

the authority to investigate violations of Titles 21 and 18 of the United States

Code. The facts contained in this affidavit were discovered by me or related to me

by other Law Enforcement Officers.

           4.       I am investigating Danielle MONSERRATE for her part in a

    conspiracy to possess with intent to distribute controlled substances(21 U.S.C.

    § 846), for possession with intent to distribute controlled substances(21 U.S.C.
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§ 841(a)(1), and for burglary of a business registered with the DEA (18 U.S.C.

§ 2118(b). This Affidavit is submitted for the purpose of securing a search

warrant authorizing a search of the following cell phones: a black-colored

"Coolpad" cellphone with pink paint on screen (IMEI: 862429032252478)

("SUBJECT        DEVICE      1"); a   gold-colored "Moto" cellphone        OMEI:

355674088957116) ("SUBJECT DEVICE 2"); a black-colored "iPhone"

cellphone (IMSI: 310120059494450)("SUBJECT DEVICE 3")—as further

described in Attachment A, which is incorporated into this Affidavit by

reference.     The DEA has custody of all three SUBJECT DEVICES in

Oklahoma City, Oklahoma. I am submitting this Affidavit in support of a

search warrant authorizing a search of all three SUBJECT DEVICES for the

items specified in Attachment B hereto, wherever they may be found, and to

seize all items in Attachment B as instrumentalities, fruits, and evidence of

the aforementioned crimes.


      5.      Since this Affidavit is being submitted for the limited purpose of

securing a search warrant, I have not included each and every fact known to

me regarding this investigation. I have set forth only the facts that I believe

are necessary to establish probable cause to support the issuance of a search

warrant.      The information contained in this Affidavit is based upon my

personal     knowledge    and   observation,   my   training   and   experience.
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   conversations with other law enforcement officers and witnesses, and review

   of documents and records.


                      BACKGROUND OF INVESTIGATION


      6.    On December 3, 2017, at approximately 20-51 p.m., the Oklahoma City

Police Department (OCPD) responded to a burglary alarm activation of Nichols

Hills Drugs, located at 7538 Berkley Avenue, Oklahoma City, Oklahoma. Upon

arrival, the OCPD responding officer observed the front door of the business had

been pried open with what appeared to be a crowbar. There was blue paint

transfer on the door frame and the lock to the door had been popped out of the

socket. An employee of the business responded and advised that there was video

surveillance but the employee was unable to get the system operational at that

time. A cursory search of the location revealed several bottles of Adderall (a

Scheduled II Controlled Substance) had been taken.

      7.   On December 5, 2017, Nichols Hills Drugs submitted a "Report of

Theft or Loss of Controlled Substances" to the DEA to document the inventory

taken during the burglary two days prior. According to the report, approximately

3200 pills of Hydrocodone, approximately 400 pills of Adderall, and approximately

200 pills of Amphetamines were taken from the pharmacy during the burglary.

All the above pills are Schedule II Controlled Substances according to the

Controlled Substances Act of 1970. OCPD conducted a followup interview with

the owner of Nichols Hills Drugs, Arrash Asgari. Mr. Asgari related the following
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to the OCPD. Mr. Asgari stated that when he viewed the surveillance video of

the burglary, he observed a male wearing a dark hoodie and camo mask enter the

pharmacy carrying an object. Mr.Asgari stated the male can be heard saying "I'm

in" on a cellphone or walkie-talkie like device on the video. The male walked

directly to the shelf containing the Adderall pills and began dumping them into a

trash can. The male then proceeded to the shelf containing the Hydrocodone pills

and dumped them into the trash can. The male then exited the pharmacy after

only being inside for less than a minute.

      8.    OCPD also acquired photographs of a suspect vehicle (a blue pickup

truck resembhng a Ford F-150)from video surveillance taken form the bank next

door to the pharmacy. In one of the photographs, the truck appeared to have its

tail gate down while driving away from the location at the time of the burglary of

the pharmacy.

      9.    On December 9, 2017, at approximately 1-26 p.m., Phelps County

Sheriff Department(PCSD) conducted a traffic stop on a blue Ford F-150 pickup

truck for a traffic violation. At the time of the traffic stop, the Ford F-150 was

towing a white passenger vehicle, which was determined to be a rental car. Upon

contacting the F-150, PCSD identified the driver as Jeremy BALLEW and the

passenger as MONSERRATE.           BALLEW identified MONSERRATE as his

girlfriend and advised the PCSD that he and MONSERRATE were going to visit

MONSERRATE's sister in St. Louis, however neither of them knew the sister's
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address in St. Louis. Also, BALLEW stated they would be visiting for five days

and staying in a hotel while visiting.   However, MONSERRATE stated they

would only be staying one night and then returning home. When advised it was

unusual to see a rental car being towed, BALLEW advised the PCSD that

MONSERRATE (in whose name the vehicle was rented) would use the rental car

to go shopping while BALLEW would keep the F-150 to "hang out" with

MONSERRATE's girlfriends' husbands. The PCSD received consent to search

the F-150 and the white rental car. During the search, the PCSD discovered two

sandwich baggies containing numerous pills. BALLEW told the PCSD the pills

were morphine pills and that they were given to him but he did not say from whom.

Based on the discovery of the pills, BALLEW and MONSERRATE were

transported to the PCSD for further investigation.

      10.   Enroute to the PCSD,BALLEW agreed to be honest if MONSERRATE

did not get arrested. After being advised of his Miranda Rights, BALLEW made

the following voluntary statements. BALLEW stated they were enroute to the St.

Louis area to commit pharmacy burglaries. BALLEW stated that his method of

operation was to "Google" the nearest pharmacy, wait until sun down, and then

make entry into the pharmacy using a crow bar. BALLEW stated the white rental

car was operated by MONSERRATE to act as a lookout during the burglary.

BALLEW then gave a written statement describing his burglary of Nichols Hills

Drugs which BALLEW referred to as his"most recent" burglary. BALLEW stated


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he was unaware of how many burglaries he had committed, but stated it was

definitely over 20 burglaries. BALLEW stated he has also committed burglaries

in Kansas City, Missouri and Illinois. BALLEW confirmed that the pills in the

second baggie were from the "last Oklahoma burglary" which BALLEW stated was

Nichols Hills Drugs.       BALLEW stated he would cooperate with the OCPD

regarding the Nichols Hills Drug burglary and that he left his tailgate down on his

truck (per OCPD seen in video as truck departed location) to conceal the license

plate of the blue truck.

      11.   The blue F-150 BALLEW was driving at the time of his traffic stop by

PCSD matched the blue pickup truck seen on video surveillance leaving the scene

of the Nichols Hills Drug burglary. In his written statement about the burglary

of Nichols Hills Drugs, BALLEW admitted to prying open the front door of the

pharmacy. BALLEW ran to the first shelf and took the Adderall and then ran to

the second shelf to take the Hydrocodone. BALLEW stated he took a "couple

thousand Hydrocodone".

      12.   In paragraph 10, BALLEW admitted that the white rental car, rented

by MONSERRATE, was operated by MONSERRATE and used as a lookout when

BALLEW commits a burglary. In paragraph 7, Mr. Asgari stated the video

surveillance system captures the hooded male(BALLEW based on his admission)

enter the pharmacy and exclaim "I'm in" on a communication device which

indicates BALLEW was communicating with another individual outside of the
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pharmacy to advise that individual that he was inside the pharmacy. Based on

BALLEW's statement that MONSERRATE uses the white rental car to act as a


lookout for him during burglaries and that Nichols Hills Drugs was his most recent

burglary, and the fact that BALLEW was towing the white rental vehicle behind

the blue Ford F-150 when he we was detained by the PCSD six days later, I believe

BALLEW was communicating with MONSERRATE on one of the SUBJECT

DEVICES when he stated "I'm in" as she was acting as the lookout during the

Nichols Hills Drugs burglary. I believe MONSERRATE was sitting in the white

vehicle outside of the pharmacy and acting as the lookout for BALLEW during the

burglary of Nichols Hills Drugs while using one of the "SUBJECT DEVICES".

      13.    On February 19, 2019, BALLEW and MONSERRATE were indicted

by a Grand Jury in the Western District of Oklahoma(WDOK)for violating federal

statutes 21 U.S.C. § 846(conspiracy to possess with intent to distribute controlled

substances) and 21 U.S.C. § 841(a)(1) (for possession with intent to distribute

controlled substances). On March 19, 2019, the Grand Jury in the WDOK issued

a superseding indictment against BALLEW and MONSERRATE additionally

charging them with violating federal statute 18 U.S.C. § 2118(b) (burglary of a

business registered with the DEA).

      14.    On March 16, 2019, MONSERRATE was arrested by the Alvarado,

Texas Police Department pursuant to the arrest warrant issued against her by the

WDOK.       Pursuant to her arrest, three glass tubes, all containing a white


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substance that field tested positive for methamphetamine, were seized from inside

the vehicle MONSERRATE was driving at the time of her arrest. Also in her

possession were the three SUBJECT DEVICES,one of which MONSERRATE was

utilizing at the time ofthe Nichols Hills Drugs burglary in which she was identified

as the lookout during the burglary by BALLEW.

      15.     Based on my training and experience, as well as the facts presented

above,I believe MONSERRATE was using one or more ofthe SUBJECT DEVICES

while acting as the "lookout" outside Nichols Hills Drugs while BALLEW

burglarized the pharmacy on December 3, 2017. Further, I also believe it is clear

that MONSERRATE utilizes one or more of the SUBJECT DEVICES to further


the conspiracy with BALLEW to possess with intent to distribute controlled

substances.


      16.     Based upon my training and experience, I am aware that individuals

involved in trafficking illegal narcotics often use cell phones in furtherance of their

drug trafficking business. Furthermore, I also know, based on my training and

experience, that these cell phones often contain electronically stored information

which constitutes evidence, fruits, and instrumentalities of the drug-trafficking

offenses being committed, including, but not limited to, contact lists, calendars,

electronic messages, e-mail messages, chat logs, photographs, videos, notes, and

data files. Consequently, I submit there is probable cause to believe that the

SUBJECT DEVICES, which were recovered from MONSERRATE (who, at the


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time of her arrest, was in possession of methamphetamine), will contain evidence

of drug trafficking.

                                   CONCLUSION


          12.    Based on the above information, there is probable cause to believe

   that violations of 21 U.S.C. § 846, 21 U.S.C. § 841(a)(1), and 18 U.S.C. 2118(b)

   have occurred, and that evidence, fruits, and instrumentalities of this offense

   are located on the SUBJECT DEVICES. Therefore, I respectfully request

   that this Court issue a search warrant for the SUBJECT DEVICES,

   authorizing the seizure of the items described in Attachment B.




                                        GERARD DiXUlPHINAIS
                                        Special Agent
                                        Drug Enforcement Administration


         SUBSCRIBED AND SWORN to before me this 3^^ day of April, 2019.




                                        SHON T. ERWIN
                                        United States Magistrate Judge




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                         ATTACHMENT A

          DESCRIPTQN OF DEVICES TO BE SEARCHED

1. A black-colored "Coolpad" cellphone with pink paint on screen (IMEI:
  862429032252478)("SUBJECT DEVICE 1")

2. A gold-colored "Moto" cellphone (IMEI: 355674088957116)("SUBJECT
  DEVICE 2")

3. A black-colored "iPhone"      cellphone   (IMSI:   310120059494450)
  ("SUBJECT DEVICE 3")




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                              ATTACHMENT B

                       LIST OF ITEMS TO BE SEIZED

Electronically stored information including, but not limited to- the phone

directory and/or contacts list, calendar, text messages, chat messages,

multimedia messages, e-mail messages, call logs, photographs, videos and data

files.




                                      12
